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                               UNITED STATES DISTRICT COURT
18
                           NORTHERN DISTRICT OF CALIFORNIA
19                                SAN FRANCISCO DIVISION
20
21
      IN RE INTUIT FREE FILE LITIGATION           Case No. 3:19-cv-02546-CRB
22
      This Document Relates to: All Actions       CONSOLIDATED CLASS ACTION
23                                                COMPLAINT
24
                                                  DEMAND FOR JURY TRIAL
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 1                                    NATURE OF THE ACTION
 2         1.      Plaintiffs are United States taxpayers who paid Intuit Inc. for online tax services
 3   that Intuit agreed to provide for free. Intuit offers online tax preparation software under the
 4   TurboTax tradename. Pursuant to an agreement with the Internal Revenue Service (IRS), Intuit
 5   and 11 other tax preparation providers are required to provide free online tax return preparation
 6   and filing services to a substantial majority of U.S. tax filers, including lower income
 7   Americans and active duty military servicemembers (the “Free File Program”). In exchange
 8   for Intuit’s participation, the IRS agreed not to build and publish its own online, free e-filing
 9   system—a service that would have competed directly with Intuit. The agreed goal of the
10   Program is for 70% of U.S. taxpayers to e-file their taxes for free. But as a result of Intuit’s
11   nationwide scheme to divert eligible filers to its paid products, less than 3% of eligible
12   taxpayers filed for free under the Free File Program in the 2018 tax year.
13         2.      Intuit uses a variety of means to steer taxpayers away from its free e-filing
14   offering under the Program. Intuit named the filing software it provides under the Free File
15   Program “TurboTax Freedom Edition” while simultaneously promoting a competing product
16   that it named “TurboTax Free Edition.” The criteria to file for free using Intuit’s Free Edition
17   are not the same as the criteria to file for free using Freedom Edition, however. Free Edition is
18   only free for the simplest returns. Most taxpayers who seek to file for free using Free Edition
19   must pay tax preparation charges starting at $59.99 or more to complete their returns.
20         3.      If a taxpayer begins the tax filing process using TurboTax’s Free Edition, Intuit
21   does not inform the taxpayer that they must pay a fee to file until after the taxpayer has devoted
22   considerable time to inputting information into the Free Edition software. In other words,
23   Intuit implements a “free-to-fee” scheme to bait customers with the offer of free tax filing
24   services but then charge them a fee to complete their return and file. Even if the taxpayer is
25   eligible to file for free under the Free File Program, Intuit does not inform the taxpayer of the
26   free file option or provide a path to Freedom Edition from Free Edition. Furthermore, Intuit’s
27   website, where it advertises Free Edition, contains no link to Freedom Edition.
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 1          4.      Intuit uses pervasive nationwide advertising and email campaigns and
 2   sophisticated search technology to suppress free filing by directing taxpayers, including those
 3   eligible to participate in the Free File Program, to its paid products. For example, Intuit made
 4   the Freedom Edition (i.e., its truly free software) virtually invisible to eligible filers under the
 5   Free File Program by removing any links to the Freedom Edition from its primary website and
 6   even altering the Freedom Edition’s website source code to prevent it from appearing in search
 7   engines like Google. By contrast, Intuit uses different source code to ensure that its paid
 8   products, including Free Edition, appear in response to Google search requests. Intuit also
 9   pays Google through Google’s advertising platform to ensure that Intuit’s paid products appear
10   at the top of internet search results. Thus, taxpayers who search for terms like “TurboTax
11   Free” or “turbo tax free file” or “irs free file taxes” are steered to Intuit’s commercial products
12   including Free Edition without being given an option to use the Freedom Edition.
13          5.      Intuit’s practices victimize low-income American taxpayers and military
14   servicepeople who are eligible to file their tax returns at no cost under the Free File Program.
15   Intuit exploits its superior knowledge of tax laws and regulations, superior access to capital and
16   technology, and the confusion, anxiety and frustration associated with payment of income
17   taxes to generate billions in revenue from low-income taxpayers—often students, elderly
18   people on fixed incomes, and public assistance recipients—and service members who qualify
19   to electronically file their tax returns at no charge. Intuit’s conduct in devising and
20   implementing a common plan or scheme to divert eligible online filers to its paid products,
21   while actively working to conceal the availability of its free filing product, has allowed Intuit to
22   extract, through the use of deceptive, unlawful and unfair acts, practices and conduct, funds
23   which should rightfully have been retained by eligible taxpayers.
24          6.      Through this action, Plaintiffs seek equitable relief in the form of an order
25   enjoining Intuit from engaging in the practices challenged herein and requiring restitution of all
26   funds improperly obtained by Intuit from the taxpayers who make up the proposed class.
27                                                PARTIES
28          7.      Plaintiff Andrew Dohrmann is a resident and citizen of California.


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 1             8.    Plaintiff Laura Nichols is a resident and citizen of Nebraska.
 2             9.    Plaintiff Brianna Sinohui is a resident and citizen of California.
 3             10.   Plaintiff Joseph Brougher is a resident and citizen of Pennsylvania.
 4             11.   Plaintiff Monica Chandler is a citizen and resident of Florida.
 5             12.   Defendant Intuit Inc. is a Delaware corporation with its principal place of
 6   business in Mountain View, California.
 7                                    JURISDICTION AND VENUE
 8             13.   This Court has jurisdiction over this lawsuit under the Class Action Fairness Act,
 9   28 U.S.C. § 1332, because this is a proposed class action in which: (1) there are at least 100
10   class members; (2) the combined claims of class members exceed $5,000,000, exclusive of
11   interest, attorneys’ fees, and costs; and (3) Intuit and class members are domiciled in different
12   states.
13             14.   The Court has personal jurisdiction over Intuit because its principal place of
14   business is within this District and it has sufficient minimum contacts in California to render
15   the exercise of jurisdiction by this Court proper and necessary.
16             15.   Venue is proper in this District under 28 U.S.C. § 1391(b) because a substantial
17   part of the conduct at issue in this case occurred in this District.
18                                 THE CLASS REPRESENTATIVES
19                                           Andrew Dohrmann
20             16.   Plaintiff Andrew Dohrmann is a student and carpenter residing in Moraga,
21   California. His adjusted gross income in 2018 was under $20,000. In April 2019, he used
22   TurboTax to prepare and file his tax returns for the 2018 tax year.
23             17.   Mr. Dohrmann searched the internet for free e-filing options and found
24   TurboTax’s Free Edition. He began the tax-preparation process on Free Edition believing, as its
25   name indicated, that Free Edition was free.
26             18.   After submitting his personal information required to file his taxes—including
27   information sufficient to confirm to Intuit that Mr. Dohrmann qualified for the Free File
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 1   Program—Mr. Dohrmann received a notification from Intuit stating that he would need to pay a
 2   fee to complete and file his tax return.
 3         19.     Intuit did not notify Mr. Dohrmann that its service was not free until the very end
 4   of the tax-filing process, after he had entered a significant amount of personal information. Mr.
 5   Dohrmann paid the fee to complete his filing, to avoid losing the value of the time he had spent
 6   inputting his information.
 7         20.     Mr. Dohrmann qualified to file his taxes for free using TurboTax Freedom
 8   Edition and the Free File Program. Had Intuit made its free tax-filing service accessible to him,
 9   Mr. Dohrmann would have used it, rather than the paid version. But for Intuit’s concealment of
10   Freedom Edition, Mr. Dohrmann would not have paid Intuit to file his taxes.
11         21.     Intuit’s conduct, as further described in this complaint, caused Mr. Dohrmann to
12   pay approximately $105 to Intuit on April 14, 2019 to file his 2018 federal and state tax returns.
13                                              Laura Nichols
14         22.     Plaintiff Laura Nichols is a current member of the Marine Corps Reserve residing
15   in Nebraska. Her adjusted gross income in 2018 was under $30,000. In April 2019, she used
16   TurboTax to prepare and file her taxes for the 2018 tax year.
17         23.     When Ms. Nichols filed her 2018 taxes, she was working for the military full time
18   and living on a military base. She searched the internet for free e-filing options and found
19   TurboTax’s Free Edition. She began the tax-preparation process on Free Edition believing, as
20   its name indicated, that Free Edition was free.
21         24.     Ms. Nichols spent several hours using TurboTax to prepare her tax returns. As
22   part of that process, she provided TurboTax with significant amounts of personal information,
23   including information sufficient to notify Intuit that Ms. Nichols qualified for the Free File
24   Program. After submitting her personal information, Intuit informed Ms. Nichols that she
25   would have to pay a fee to complete and file her tax return through TurboTax.
26         25.     Intuit did not notify Ms. Nichols that its service was not free until the very end of
27   the tax filing process, after she had entered a significant amount of personal information. Ms.
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 1   Nichols paid the fee to complete her filing, to avoid losing the value of the time she had spent
 2   inputting her information.
 3         26.     Ms. Nichols qualified to file her taxes for free using TurboTax Freedom Edition
 4   and the Free File Program. Had Intuit made its free tax-filing service accessible to her, Ms.
 5   Nichols would have used it rather than the paid version. But for Intuit’s concealment of
 6   Freedom Edition, Ms. Nichols would not have paid Intuit to file her taxes.
 7         27.     Intuit’s conduct, as further described in this complaint, caused Ms. Nichols to pay
 8   approximately $30 to Intuit in April 2019 to file her 2018 federal and state tax returns.
 9                                          Brianna Sinohui
10         28.     Plaintiff Brianna Sinohui is a resident of Redlands, California. Her adjusted gross
11   income in 2018 was under $10,000. In 2019, she used TurboTax to prepare and file her tax
12   returns for the 2018 tax year.
13         29.     Ms. Sinohui navigated to Intuit’s TurboTax Free Edition website and began the
14   tax-preparation process, believing that Free Edition was, as its name indicated, free.
15         30.     After submitting her personal information—including information sufficient to
16   confirm to Intuit that Ms. Sinohui qualified for the Free File Program—Ms. Sinohui received a
17   notification from Intuit stating that she would need to pay a fee to complete and file her tax
18   return.
19         31.     Intuit did not notify Ms. Sinohui that its service was not free until the very end of
20   the tax-filing process, after she had entered a significant amount of personal information. Ms.
21   Sinohui paid the fee to complete her filing, to avoid losing the value of the time she had spent
22   inputting her information.
23         32.     Ms. Sinohui qualified to file her taxes for free using TurboTax Freedom Edition.
24   Had Intuit made its free tax filing service accessible to her, Ms. Sinohui would have used it,
25   rather than the paid version. But for Intuit’s concealment of Freedom Edition, Ms. Sinohui
26   would not have paid Intuit to file her taxes.
27         33.     Intuit’s conduct, as further described in this complaint, caused Ms. Sinohui pay
28   approximately $179 to Intuit to file her 2018 federal and state tax returns.


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 1                                          Joseph Brougher
 2           34.   Plaintiff Joseph Brougher is a student with a part-time job who resides in West
 3   Mifflin, Pennsylvania. His adjusted gross income in 2018 was under $10,000. In January 2019,
 4   he used TurboTax to prepare and file his tax returns for the 2018 tax year.
 5           35.   Mr. Brougher navigated to the TurboTax’s Free Edition and began the tax-
 6   preparation process based on the understanding that Free Edition was, as its name indicated,
 7   free.
 8           36.   After submitting his personal information—including information sufficient to
 9   confirm to Intuit that Mr. Brougher qualified for the Free File Program—Mr. Brougher received
10   a notification from Intuit stating that he would need to pay a fee to complete and file his tax
11   return.
12           37.   Intuit did not notify Mr. Brougher that is service was not free until the very end of
13   the tax-filing process, after he had entered a significant amount of personal information. Mr.
14   Brougher paid the fee to complete his filing, to avoid losing the value of the time he had spent
15   inputting his information.
16           38.   Mr. Brougher qualified to file his taxes for free using TurboTax Freedom Edition.
17   Had Intuit made its free tax filing service accessible to him, Mr. Brougher would have used it,
18   rather than the paid version. But for Intuit’s concealment of Freedom Edition, Mr. Brougher
19   would not have paid Intuit to file his taxes.
20           39.   Intuit’s conduct, as further described in this complaint, caused Mr. Brougher to
21   pay approximately $85.58 to Intuit to file his 2018 federal and state tax returns.
22                                          Monica Chandler
23           40.   Plaintiff Monica Chandler works in public services and resides in Lakeland,
24   Florida. Her adjusted gross income in 2018 was under $25,000. In March 2019, she used
25   TurboTax to prepare and file her tax returns for the 2018 tax year.
26           41.   Ms. Chandler used an accounting service to complete her taxes the previous year,
27   but decided to use the TurboTax Free Edition for the 2019 tax season so that she could file her
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 1   tax returns for free. She navigated to the Free Edition and began the tax-preparation process
 2   believing that Free Edition was, as its name indicated, free.
 3         42.     After submitting her personal information—including information sufficient to
 4   confirm to Intuit that Ms. Chandler qualified for the Free File Program—Ms. Chandler received
 5   a notification from Intuit stating that she would need to pay a fee to complete and file her tax
 6   return.
 7         43.     Intuit did not notify Ms. Chandler that its service was not free until the very end
 8   of the tax filing process, after she had entered a significant amount of personal information.
 9   Ms. Chandler paid the fee to finish her filing, to avoid losing the value of the time she had spent
10   inputting her information.
11         44.     Ms. Chandler qualified to file her taxes for free using TurboTax Freedom Edition.
12   Had Intuit made its free tax filing service accessible to her, Ms. Chandler would have used it,
13   rather than the paid version. But for Intuit’s concealment of Freedom Edition, Ms. Chandler
14   would not have paid Intuit to file her taxes.
15         45.     Intuit’s conduct, as further described in this complaint, caused Ms. Chandler to
16   pay approximately $64.98 to Intuit to file her 2018 federal and state tax returns.
17                             COMMON FACTUAL ALLEGATIONS
18         A.      The Free File Program
19         46.     Congress passed the Internal Revenue Service Restructuring and Reform Act of
20   1998 (the “Act”) to restructure, modernize, and improve taxpayer protections and rights. A
21   central feature of the Act was its command to modernize computer systems and business
22   processes to offer expanded electronic tax filing. The Act set a goal of 80 percent of all tax
23   returns being filed electronically by 2007.
24         47.     In November 2001, the Office of Management and Budget’s Quicksilver Task
25   Force established the EZ Tax Filing Initiative, which directed the IRS to “create a single point
26   of access to free on-line preparation and electronic tax filing services provided by Industry
27   Partners to reduce burden and costs to taxpayers.” See Presential Initiatives: IRS Free File,
28   https://georgewbush-whitehouse.archives.gov/omb/egov/c-1-3-IRS.html. Initially, the


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 1   administration proposed that the IRS develop its own digital filing form, which would be
 2   accessible through the whitehouse.gov website. Ultimately, however, the IRS entered into an
 3   agreement with a consortium of private tax preparation companies, originally known as the
 4   Free File Alliance, LLC and now called Free File, Inc. (the “Alliance”), to facilitate the
 5   expansion of free electronic tax filing.
 6          48.     In 2002, the IRS entered into an agreement with the Alliance called the Free File
 7   Agreement (the “Agreement”). Under the Agreement, members of the Alliance committed to
 8   provide free tax preparation and electronic filing services to at least 60% of United States
 9   taxpayers.
10          49.     Intuit—developer of the TurboTax tax preparation and filing software—is the
11   market leader in consumer tax software and has largest market share of any member of the
12   Alliance. The other current members of the Alliance are H&R Block, 1040NOW Corp., Drake
13   Enterprises, ezTaxReturn.com, FileYourTaxes, Free Tax Returns, Liberty Tax, OnLine Taxes,
14   TaxACT, TaxHawk, and TaxSlayer.
15          50.     The IRS and the Alliance extended the Agreement in 2005 and expanded the
16   Program to include “taxpayers with an AGI equal to or less than 70% of all US taxpayers or
17   below for the prior year, including those least able to afford efiling tax returns, based upon
18   verifiable characteristics in their tax return[.]” The criteria for eligibility for free tax
19   preparation and filing services have remained substantially the same since 2005. The
20   Agreement has been renewed several times and has been amended through a series of
21   memoranda of understanding (“MOUs”). On October 31, 2018, the IRS and Alliance entered
22   into an Eighth MOU renewing the Free File Program through October 31, 2021.
23          51.     Pursuant to the Agreement, each Alliance member serves a share of eligible
24   taxpayers based on specific objective criteria, so that all qualifying taxpayers have access to at
25   least one online platform that will allow them to file their returns at no cost. Intuit is
26   responsible for providing free e-filing to some of the lowest-earning, and most vulnerable,
27   taxpayers: those who have AGI of $34,000 or less, are eligible for the Earned Income Tax
28   Credit, or are active military members with AGI of $66,000 or less. Under the Agreement,


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 1   these are the only requirements taxpayers must meet to file for free through TurboTax under
 2   the Free File Program.
 3         52.     The Agreement’s stated purpose is to “extend[] the benefits of online federal tax
 4   preparation and electronic filing to economically disadvantaged and underserved populations at
 5   no cost to either the individual user or to the public treasury.” The Agreement states that “to
 6   serve the greater good . . . the scope of this program is focused on covering the taxpayers least
 7   able to afford e-filing their returns on their own.”
 8         B.      Intuit Entered Into the Free File Agreement to Avert the Competitive
                   Threat Posed by the Federal Government
 9
10         53.     According to the Treasury Inspector General for Tax Administration, the
11   Alliance’s “primary goal is to keep the Federal Government from entering the tax preparation
12   business.” See Written Statement of Treasury Inspector General for Tax Administration J.
13   Russell George Before the U.S. House of Representatives Committee on Ways and Means (Apr.
14   6, 2006) (available at https://www.treasury.gov/tigta/congress/congress_04062006.htm) (last
15   visited Sept. 13, 2019).
16         54.     The Agreement includes a noncompete provision that prohibits the IRS from
17   creating its own free e-filing system. In contrast, many countries offer their citizens the option
18   to file free online tax returns directly with the government.
19         55.     Intuit and other Alliance members have spent millions lobbying to make the Free
20   File Program permanent in order to preserve the benefits of this noncompete provision.
21         56.     In its SEC filings, Intuit has acknowledged the competitive threat of a
22   government-run free e-filing system: “We also face potential competitive challenges from
23   publicly funded government entities that offer electronic tax preparation and filing services at
24   no cost to individual taxpayers.” Intuit’s participation in the Alliance “has kept the federal
25   government from being a direct competitor to Intuit’s tax offerings.”
26         57.     In its 2004 Annual Report, Intuit acknowledged: “were the federal government to
27   terminate the Free File Alliance and elect to provide its own software and electronic filing
28   services available to taxpayers at no charge it would negatively impact our revenue and


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 1   profits.”
 2         58.     Thus, by entering into the Agreement with the IRS, Intuit avoided competition
 3   from government-provided free tax programs. As a result, Intuit ensured that millions of
 4   taxpayers would visit its websites in search of e-filing options, nearly all of which are fee-
 5   based. As of 2017, Intuit had a 65% market share in the do-it-yourself tax software category.
 6         C.      Intuit Steers Taxpayers Away from Free File to Its Commercial Sites
 7         59.     Although the stated purpose of the Agreement is to allow free tax filing for those
 8   taxpayers who are least able to afford e-filing, Intuit devised a scheme to steer customers away
 9   from participation in the Free File Program and drive revenue from Free File eligible taxpayers
10   to Intuit’s fee-based software products. For example, Intuit offers two similarly-named
11   products that perform the same core functions: (1) a free tax preparation software product it
12   named “TurboTax Freedom Edition”—which enables eligible users to complete and e-file their
13   tax returns for free pursuant to the Free File Program; and (2) a separate commercial tax
14   preparation software product it named “TurboTax Free Edition”—which is heavily marketed
15   and promoted as free, but actually charges customers to file all but the most basic of tax returns
16   including returns that are eligible for free filing under the Free File Program.
17         60.     Thus, while the trade names given by Intuit to its Free File and paid software
18   products are almost identical, the products are distinct in material, unfair and misleading ways.
19   Freedom Edition, the actually free software product Intuit offers pursuant to the Free File
20   Program, is intended for taxpayers with an adjusted gross income of $34,000 or less, those who
21   are eligible for the Earned Income Tax Credit, as well as those on active military duty with an
22   adjusted gross income of $66,000 or less. These taxpayers are eligible under the Free File
23   Program to prepare and file a return for free using TurboTax Freedom Edition, a full-featured
24   tax filing software system that allows a taxpayer to prepare and file a federal tax return for free.
25   In addition to the Form 1040, Freedom Edition provides free access to over 100 other tax forms
26   as required under the Free File Program, including Schedules 1 through 6, 1099-MISC, and
27   1040 Schedules A-E, EIC, F, H, and J. This means that, as required under the Free File
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 1   Program, even taxpayers with complex returns can use Freedom Edition to e-file for free if
 2   they are able to access it and meet the basic eligibility requirements described above.
 3         61.     The Free Edition, by contrast, is only free for “simple tax returns that can be
 4   filed on Form 1040 without any attached schedules.” The addition of any forms, including in
 5   returns requiring itemized deductions, credits, or incomes reportable on Schedules 1 to 6,
 6   cannot be prepared for free using TurboTax Free Edition. Consequently, taxpayers who meet
 7   any of the following criteria, among others, will be charged when using the Free Edition: they
 8   are self-employed, do not have health insurance, receive unemployment pay, live in one state
 9   but work in another, pay or receive alimony, have business income, expenses, or losses, have
10   capital gains or losses, have income from rental real estate, receive royalties, have farm income
11   or losses, claim a student loan deduction, claim a health savings account contribution
12   deduction, claim deductible educator expenses, claim education credits, claim retirement
13   savings contribution credits, or claim credit for child and dependent care expenses. None of
14   these criteria impact a taxpayer’s eligibility to file for free under the Free File Program.
15         62.     Even where a taxpayer using the Free Edition has provided sufficient
16   information to allow Intuit to determine that the taxpayer qualifies for free filing under the Free
17   File Program, Intuit does not notify the taxpayer of their eligibility under the Program or direct
18   the taxpayer to the Freedom Edition website where the filing would actually be free. Thus,
19   even though a taxpayer is eligible to file for free under the Free File Program and has been
20   directed by Intuit to a purportedly “Free Edition” of its product, Intuit nonetheless charges that
21   taxpayer a fee to complete the e-filing of his or her return.
22         63.     Instead of offering an eligible taxpayer the option to file for free under the Free
23   File Program, when such a taxpayer seeks to file for free using the “Free Edition” but triggers
24   one of the conditions set by Intuit precluding them from doing so, Intuit claims there is a need
25   to “upgrade” to one of TurboTax’s paid products (1) “Deluxe” ($59.99 and up); (2) “Premier”
26   ($79.99 and up); or (3) “Self-Employed” ($119.99 and up). Taxpayers typically spend
27   considerable time inputting their personal and wage information using the Free Edition before
28   Intuit informs them that an “upgrade” is necessary to file their returns.


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19         64.     Thus, the Free Edition requires users to “upgrade” (i.e., pay a fee) even when
20   they otherwise qualify under the Free File Program and could submit the exact same forms
21   using the Freedom Edition at no cost. For example, the above graphic lists 1099 tax forms as
22   requiring an upgrade to a paid product, even where the IRS website lists these same forms as
23   qualifying for free filing under the Free File Program and they could be filed for free through
24   Intuit’s Freedom Edition website by taxpayers able to access it.
25         65.     Intuit further represents to taxpayers using the Free Edition that an upgrade is
26   required to “accurately” file their tax return:
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10         66.     Intuit’s statement in this regard is both contrary to Intuit’s advertising and
11   literally false. “[U]pgrading” has nothing to do with “accurately” filing—taxpayers can
12   accurately file the same tax return for free using other free alternatives—including using the
13   Freedom Edition created for the Free File Program.
14         67.     While duping taxpayers into paying for filings Intuit knew could be filed for free,
15   Intuit went to great lengths to conceal the existence of the Freedom Edition and direct
16   taxpayers towards its Free Edition. As reported by ProPublica, a former Intuit employee
17   recalled a May 2017 marketing team meeting at Intuit’s Headquarters at which a new
18   employee proposed that customers who go through TurboTax’s filing process and input
19   information demonstrating their eligibility for free filing receive a “hard recommendation” and
20   be routed to the truly free product. This suggestion was reportedly met with laughter, and then
21   other meeting attendees quickly changed the subject. The same former employee explained
22   that Intuit has “ways of detecting if you’re paying too much, but they just don’t do it.”
23         68.     In earnings calls, Intuit openly boasted of the success of its “free-to-fee” or “free-
24   to-pay” business model in steering customers to pay for e-filing unnecessarily. For example:
25                 a.      In a 2008 earnings call, then-CEO Brad Smith explained that Intuit has
26   “2.5 years of experience of learning what free is about and how best to monetize free.” He
27   added, “We feel good with the model. We have a pretty good handle for how to get customers
28   who use free to come into the franchise and actually buy additional products and services . . . .”


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 1                   b.     In a 2015 earnings call, Brad Smith further explained, “I think our track
 2   record is we can bring people in on free. We can monetize many of them in the same season.
 3   But we also tend to monetize more of them the following season and that just continues to be a
 4   formula that pays off.”
 5         69.       Intuit’s strategy to suppress free filing has been wildly successful. In 2018, more
 6   than 100 million taxpayers were eligible to file for free under the Free File Program, but only
 7   about 2.5 million did so—far short of the Free File Program’s intended goal of making free e-
 8   filing available to at least 70% of filers. Moreover, while one might reasonably expect the
 9   number of e-filers using websites to increase in light of the significant increase in the number
10   of filers, the growth of the internet and, more recently, changes to the tax code, the number has
11   steadily declined from its peak in 2005, when over 5 million taxpayers filed through the Free
12   File Program.
13         70.       In November 2018, the IRS Advisory Council wrote that one explanation for the
14   decline in participation involve “[Alliance] members directly marketing their non-Free File
15   products to taxpayers who used their Free File product in prior years.” See Internal Revenue
16   Service Advisory Council, Public Report, Publication 5316, November 2018, Catalog Number
17   17824A, available at https://www.irs.gov/pub/irs-pdf/p5316.pdf (last visited Sept. 13, 2019).
18         71.       The participation rate in the Free File Program continues to decline steadily:
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27         72.       Intuit’s efforts to maximize revenue from low-income taxpayers have been
28   successful: In 2018, Intuit earned $2.5 billion in revenue derived from its TurboTax segment, a


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 1   $300 million increase from 2017 and a $500 million increase from 2016. Representative
 2   examples of Intuit’s acts, practices and conduct directed at suppressing participation in the Free
 3   File Program in favor of Intuit’s paid products for the 2019 tax season are described below.
 4   On information and belief, Plaintiffs allege that Intuit has engaged in a similar course of
 5   conduct in the 2018, 2017 and 2016 tax seasons, and while the specific actions taken may have
 6   differed, the object and effect of such actions was to suppress and deter taxpayer participation
 7   in the Free File Program in favor of Intuit’s paid tax preparation products.
 8                                     Internet Search Manipulation
 9         73.     In furtherance of its common plan or scheme to conceal the ability of taxpayers
10   to file for free through the Free File Program, for the 2018 tax season Intuit instituted a plan to
11   prevent taxpayers from locating the free version of its Free File Program software—TurboTax
12   Freedom Edition—by adding code on its website directing Google and other search engines not
13   to list that free product in online search results. The code Intuit added can be found in a file
14   called robots.txt or in an HTML tag, both of which only appear in a website’s underlying code
15   if they have been affirmatively added:
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21         74.     This code is typically used on web pages that designers do not want to make
22   accessible to the public, like sites for internal use only; the code directs Google’s search
23   algorithms to exclude the specified pages in search returns. In 2018 and the first few months of
24   2019, Intuit used code to direct traffic away from the online portal to the no-cost TurboTax
25   Freedom Edition. As a result, eligible taxpayers searching for “turbo tax free file” or “irs free
26   file taxes” (or any other combination of search terms that a taxpayer might use to find a free e-
27   filing service they were eligible to use) were unable to locate TurboTax Freedom Edition
28   through web searches.


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 1         75.     By contrast, Intuit went to great lengths to ensure that its primary, commercial
 2   website, TurboTax.com, was at or near the top of relevant search engine results. For example,
 3   Intuit did not include similar code concealing its primary website from search engines. As a
 4   result, taxpayers searching the internet for “free” tax preparation services were directed to
 5   Intuit’s revenue-producing URL:
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11         76.     Furthermore, for the 2018 tax year, Intuit purchased Google “AdWords”—
12   advertisements that appear at the top of Google search results—to direct taxpayers to its
13   commercial tax-filing options instead of its Freedom Edition website.
14         77.     Google allows advertisers to specify various search phrases that will trigger
15   display of the advertisements paid content. Intuit invested in Google AdWords to ensure that
16   taxpayers searching terms like “turbo tax free” would see advertisements for Intuit’s revenue-
17   producing URL at the top of Google’s search results. Intuit consulted with marketing firms to
18   choose the optimal terms and invested heavily in Google AdWords during tax filing season.
19         78.     During the 2018 tax season, a search for “TurboTax Free” in Google yielded as
20   the top search result a link to TurboTax’s “Free Edition.” “Freedom Edition” does not appear
21   on the search result list. A search for “irs free file taxes” displayed Intuit’s commercial filing
22   options as the top search results.
23         79.     Once a taxpayer reaches TurboTax’s primary website, the Freedom Edition is not
24   listed as a product offering or even accessible via link from TurboTax’s primary website.
25         80.     Further, even if taxpayers knew to type “TurboTax Freedom” in a Google search
26   to locate the free filing product, the first link still would not provide access to the Freedom
27   Edition website. Instead, during the 2019 filing season, it directed consumers to a landing page
28   that required users to click on the orange “See If You Qualify” link in order to access the


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 1   Freedom Edition website. The landing page is designed so that users who do not read the
 2   smaller print will click the blue link that says “Start for Free,” which directs the user to
 3   TurboTax’s paid offerings. This is known as a “dark pattern”—a user-interface design intended
 4   to coerce users into making decisions promoted by the website operator.
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22         81.     Intuit’s Freedom Edition website also contains dark patterns to surreptitiously
23   steer taxpayers away from the Freedom Edition to one of Intuit’s paid products. For example,
24   Intuit requires users to log into an “Intuit Account” on its website before beginning a tax return
25   using either Freedom Edition or a commercial version. Anyone who has used a TurboTax
26   product in the past already will have an Intuit ID. But a user who enters her preexisting Intuit
27   ID into the Freedom Edition website is redirected back to the TurboTax “Free” (commercial)
28   website. To actually use Freedom Edition, a user must (1) sign out of their existing TurboTax


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 1   account; (2) go to the IRS Free File Program; (3) create a new account or sign back into their
 2   existing account; and (4) confirm the switch to TurboTax Free File Program when prompted.
 3           82.    As a result of Intuit’s actions, millions of taxpayers eligible under the Free File
 4   Program to file for free through the Freedom Edition were instead diverted to Intuit’s Free
 5   Edition and paid to file their taxes.
 6                                           Deceptive Marketing
 7           83.    In furtherance of its common plan or scheme, Intuit implemented a pervasive,
 8   nationwide marketing and advertising campaign during the 2018 tax filing season promoting
 9   its offering of “free” tax filing services, even though the vast majority of users would actually
10   be charged to file their returns.
11           84.    Intuit purchased online and televised advertising, promoting the slogan
12   “Turbotax Free is free. Free, free free free[,]” to direct taxpayers to Intuit’s commercial
13   products, rather than Freedom Edition. A one-minute advertisement, screenshots from which
14   are displayed below, presents a dramatic courtroom scene in which the various lawyers, judge
15   and jury say only the word “free” 85 times in a row. The advertisement ends with a voiceover
16   stating, “That’s right, TurboTax Free is free. Free, free, free, free.”1
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         https://www.youtube.com/watch?v=5VV80ozpuMw (last visited Sept. 13, 2019).
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 1         85.     A former Intuit employee reported that “[t]he entire strategy is make sure people
 2   read the word ‘free’ and click our site and never use” an actually free product. He added that
 3   the “vast majority of people who click” on the Free Edition “will not pay $0.”
 4         86.     Intuit’s advertising used the term “FREE guaranteed” and “$0 Fed $0 State and
 5   $0 To File” in the following manner:
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 1         87.    As part of its marketing campaign, Intuit even created a crossword puzzle with
 2   68 clues to which every answer was “free.” Intuit entitled the crossword “FREE by Free F.
 3   Free” and published it on The New York Times website and in The New York Times Magazine.
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27   Further images of this crossword puzzle are available at: http://s3.amazonaws.com/abn-
28   prod/wp-content/uploads/sites/7/2019/01/NYT_Magazine_Free_Crossword.png.


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 1                                         Military Marketing
 2         88.     Other ads disseminated in connection with the same 2018 promotional campaign
 3   were directed at active military servicemembers. For example, the below advertisement states,
 4   “If you’re a service member in ranks E-1 to E-5 you can file both your federal and state taxes
 5   for FREE with the TurboTax Online Free Edition”:
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25         89.     Intuit also uses patriotic imagery to attract servicemembers to file taxes using its
26   commercial products and maintains a dedicated webpage for servicemembers, which only
27   references TurboTax’s commercial filing options alongside purportedly “free” offerings:
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 1         90.     Despite the fact that servicemembers ranking E-1 to E-5 typically make less than
 2   $39,000 a year from their military service—and are therefore eligible for free filing under the
 3   Free File Program (which permits free filing for servicemembers with AGI up to $66,000)—
 4   Intuit’s military-centric advertisements direct taxpayers to TurboTax’s paid offerings rather than
 5   its Freedom Edition website.
 6                                         E-Mail Marketing
 7         91.     Through 2018, Intuit also targeted taxpayers through direct email campaigns. As
 8   each tax season approaches, taxpayers who have previously used TurboTax to file their returns
 9   receive emails reminding them of upcoming filing deadlines. These emails direct taxpayers to
10   Intuit’s commercial products, not the Freedom Edition, even for taxpayers who used Freedom
11   Edition to file in previous tax years. Many users also reported that when they entered their
12   preexisting email, user ID, and password on the Freedom Edition website, they were
13   automatically routed to the commercial version.
14         92.     Individuals who previously used a TurboTax product receive on average 20 or
15   more emails from TurboTax@e.turbotax.intuit.com leading up to the April filing deadline,
16   including emails exhorting them to sign in to receive “max refund” that is “FREE guaranteed.”
17   Examples appear below:
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25         93.     Once the individual clicks on the e-mail, they see visual images claiming that
26   their tax filings will be “FREE guaranteed” and inviting them to click on the blue button labeled
27   “Go” next to their pre-populated user ID. A sampling of these email advertisements is provided
28   below:


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12          94.    Intuit’s advertisements and solicitations draw taxpayers into Intuit’s paid
13   products with no “off-ramp” to the Freedom Edition website. Intuit’s common plan or scheme
14   is designed to prompt taxpayers to input their data into its commercial software, believing they
15   are eligible for free services, and alert them to the filing fees they will be charged only after
16   they have invested significant time inputting their sensitive personal and wage information. As
17   former CEO Brad Smith explained at a Morgan Stanley Technology presentation, “it’s actually
18   the best customer acquisition strategy we’ve had. What ends up being the opportunity is
19   getting you to come in and start filling out your tax return electronically.”
20          D.     The Fallout From Pro Publica’s Reporting
21          95.    Since publication of the ProPublica articles, taxpayers who sought but were
22   unable to obtain free tax preparation and filing services have reported their experiences to
23   ProPublica. Their stories show the impact of Intuit’s practices on the lower income taxpayers
24   targeted by the Free File Program:
25         An 87-year-old on social security with an adjusted gross income of $11,000 had to pay
26          $124.98 to file taxes.
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 1         An unemployed woman recovering from chemotherapy with two disabled sons whose
 2          household earned approximately $30,000 was charged $200. The woman said, “Those
 3          $200 would have helped pay for rent.”
 4         A freelancer earning $15 an hour was charged $154, and said, “To suddenly be saddled
 5          with [a] $154 fee for a service I will only use one day out of the year, when I file, is the
 6          worst kind of injustice for someone in my position.”
 7         A man earning $5,000 a year paid $103.95 to file.
 8         A contractor earning $14,500 a year was charged $169 to file taxes. The contractor
 9          said, “That was a whole 1% of my total income . . . . How are they allowed to lie like
10          this?”
11          96.      The stories shared by military servicemembers who paid for “free” TurboTax
12   software are similar:
13         A mother of three married to a Navy officer Googled “tax preparation military free.”
14          She clicked the top result—a link to a TurboTax site promising “free military taxes”—
15          and landed on a site emblazoned with miniature American flags. Even though her
16          family’s household income was under the $66,000 threshold to file at no cost under the
17          Free File Program, Intuit charged her $60 to file her family’s tax return.
18         A hospital corpsman in the Navy who made less than $66,000 paid $95 to file his 2018
19          tax return.
20          97.      Many taxpayers have contacted Intuit to demand a refund after learning that they
21   paid for a TurboTax commercial product even though they qualified to file for free under the
22   Free File Program. In response, Intuit created a special team to handle inquiries from
23   taxpayers who were eligible for the Free File Program. The team has repeatedly denied refund
24   requests. See Justin Elliot and Paul Kiel, The TurboTax Trap: TurboTax and H&R Block Saw
25   Free Tax Filing as a Threat—and Gutted it, ProPublica (May 2, 2019) (available at
26   https://www.propublica.org/article/intuit-turbotax-h-r-block-gutted-free-tax-filing-internal-
27   memo) (last visited Sept. 13, 2019).
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 1          98.     Intuit’s team has also disseminated inaccurate information about the Free File
 2   Program to consumers calling and seeking refunds. For example, when one low-income tax
 3   filer asked why there are no links to the actual free file software on the TurboTax website, an
 4   Intuit agent responded that “it is an IRS product” and “the IRS is the one managing it.” Intuit
 5   agents have also told low-income tax filers that Intuit’s free service is owned by the IRS and
 6   that Free File is a “government product that is simply branded as TurboTax.” See Justin Elliot
 7   and Meg Marco, Listen to TurboTax Lie to Get Out of Refunding Overcharged Customers,
 8   ProPublica (May 9, 2019) (available at https://www.propublica.org/article/listen-to-turbotax-
 9   lie-to-get-out-of-refunding-overcharged-customers) (last visited Sept. 13, 2019).
10                                 CLASS ACTION ALLEGATIONS
11          99.     Class Definition: Plaintiffs bring this class action on behalf of themselves and
12   other similarly situated individuals. Pursuant to Federal Rules of Civil Procedure 23(b)(2) and
13   (b)(3) Plaintiffs seek certification of a class (the “Class”) initially defined as:
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                    All United States citizens and residents who during the applicable
15                  limitations period were eligible to file a federal tax return pursuant
                    to the IRS Free File Program on Intuit’s TurboTax Freedom Edition
16                  website but paid a fee to TurboTax to file such return.
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            100.    Excluded from the Class is Intuit’s officers, directors, affiliates, legal
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     representatives, employees, successors, subsidiaries, and assigns. Also excluded from the Class
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     is any judge, justice or judicial officer presiding over this matter and the members of their
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     immediate families and judicial staff.
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            101.    Numerosity: The Class is so numerous that individual joinder of all members is
22
     impracticable.
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            102.    Common Questions of Law and Fact Predominate: There are many questions of
24
     law and fact common to Plaintiffs and Class members, and those questions substantially
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     predominate over any questions that may affect individual Class members. Common questions
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     of law and fact include:
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                    a.      Whether Intuit’s conduct constituted unfair business acts and practices
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     under California’s Unfair Competition Law;

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 1                  b.     Whether Intuit’s conduct was unlawful under California’s Unfair
 2   Competition Law;
 3                  c.     Whether Intuit’s conduct was fraudulent under California’s Unfair
 4   Competition Law;
 5                 d.      Whether Intuit’s advertising was unfair, deceptive, and misleading in
 6   violation of California’s Unfair Competition Law;
 7                 e.      Whether Intuit was unjustly enriched; and
 8                 f.      Whether Plaintiffs and members of the class are entitled to equitable relief,
 9   including injunctive relief and restitution.
10         103.    All members of the Class are ascertainable by reference to objective criteria.
11   Intuit has access to addresses and other contact information for Class members which can be
12   used for notice purposes.
13         104.    Typicality: Plaintiffs’ claims are typical of the claims of the Class. Plaintiffs and
14   all Class members were subjected to Intuit’s common course of conduct and were similarly
15   affected by its actions.
16         105.    Adequacy of Representation: Plaintiffs are adequate class representatives
17   because their interests do not conflict with the interests of the Class members whom they seek
18   to represent. Plaintiffs have retained counsel with substantial experience in prosecuting
19   complex and class action litigation. Plaintiffs and their counsel are committed to vigorously
20   prosecuting this action on behalf of class members and have the financial resources to do so.
21   The Class members’ interests will be fairly and adequately protected by Plaintiffs and their
22   counsel.
23         106.    Superiority of Class Action: Plaintiffs and Class members suffered, and will
24   continue to suffer, harm as a result of Intuit’s conduct. A class action is superior to other
25   available methods for the fair and efficient adjudication of the present controversy. Individual
26   joinder of all Class members is impractical. Even if individual Class members had the
27   resources to pursue individual litigation, it would be unduly burdensome to the judicial system.
28   Individual litigation also would magnify the delay and expense to all parties of resolving the


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 1   controversies engendered by Intuit’s common course of conduct. A class action allows a single
 2   court to provide the benefits of unitary adjudication, judicial economy, and the fair and
 3   equitable handling of the claims of all Class members in a single forum. The conduct of this
 4   action as a class action will conserve the resources of the parties and of the judicial system and
 5   will protect the rights of the Class.
 6          107.    Injunctive Relief: Intuit has acted and refused to act on grounds generally
 7   applicable to the Class, making injunctive relief warranted with respect to the Class as a whole.
 8                                 INTUIT’S TERMS OF ADHESION
 9          108.    Intuit drafted the Terms of Service and/or Terms of Use (collectively, “Terms”)
10   and presented those terms to all Plaintiffs. The Terms are a form contract. They are not
11   negotiable, and they were not negotiated by the Plaintiffs. The Terms are a contract of adhesion
12   by Intuit that Plaintiffs were required to accept to use the services.
13          109.    The Terms contain an arbitration provision that provides: “DISPUTES. ANY
14   DISPUTE OR CLAIM RELATING IN ANY WAY TO THE SERVICES OR THIS
15   AGREEMENT WILL BE RESOLVED BY BINDING ARBITRATION, RATHER THAN IN
16   COURT, except that you may assert claims in small claims court if your claims qualify. The
17   Federal Arbitration Act governs the interpretation and enforcement of this provision; the
18   arbitrator shall apply California law to all other matters. Notwithstanding anything to the
19   contrary, any party to the arbitration may at any time seek injunctions or other forms of
20   equitable relief from any court of competent jurisdiction.” (emphasis added). As alleged herein,
21   this action seeks only injunctive and equitable relief and is not subject to arbitration under the
22   foregoing provision.
23          110.    The Terms were drafted exclusively by Intuit, including the arbitration clause and
24   the exception to that clause providing that the Plaintiffs may seek equitable remedies in a court
25   of law.
26          111.    Intuit, on information and belief, retained sophisticated lawyers with experience
27   drafting arbitration agreements to draft and review the Terms. In contrast, Plaintiffs are
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 1   ordinary consumers who were not represented by counsel in regard to entering into a
 2   relationship with Intuit.
 3         112.    The Plaintiffs are not commercial entities but ordinary consumers who were
 4   induced to engage Intuit for ordinary consumer services. They are not sophisticated in legal
 5   matters or commercial dealings.
 6                                CHOICE-OF-LAW ALLEGATIONS
 7         113.    California law applies to the claims of all Class members under either a
 8   contractual choice-of-law or governmental interest analysis.
 9         114.    The Terms state that “California state law governs this Agreement without regard
10   to its conflicts of law provisions.”
11         115.    Further, the State of California has sufficient contacts to Intuit’s relevant conduct
12   for California law to be uniformly applied to the claims of the Class. Application of California
13   law to all relevant Class member transactions comports with the Due Process Clause given the
14   significant aggregation of contacts between Intuit’s conduct and California.
15         116.    Intuit is headquartered and does substantial business in California.
16         117.    A significant percentage of the Class members are located in, and Intuit aimed a
17   significant portion of its unlawful conduct at, California.
18         118.    The conduct that forms the basis for each Class member’s claims against Intuit
19   emanated from its headquarters in Mountain View, California. Intuit devised and executed its
20   wrongful conduct and marketing scheme, wrote the software code at issue, received customer
21   complaints, planned its communications with Class members, and set its policies and practices
22   at its Mountain View headquarters.
23         119.    California has a greater interest than any other state in applying its law to the
24   claims at issue in this case. California has a very strong interest in preventing its resident
25   corporations from engaging in unfair and deceptive conduct and in ensuring that harm inflicted
26   on resident consumers is redressed. California’s interest in preventing unlawful corporate
27   behavior occurring in California substantially outweighs any interest of any other state in
28   denying recovery to its residents injured by an out-of-state defendant or in applying its laws to


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 1   conduct occurring outside its borders. If other states’ laws were applied to Class members’
 2   claims, California’s interest in deterring resident corporations from committing unfair and
 3   deceptive practices would be impaired.
 4                                          COUNT I
             California Unfair Competition Law, Cal. Bus. & Prof. Code § 17200 et seq.
 5                              Unfair Business Acts and Practices
 6                             (On Behalf of Plaintiffs and the Class)

 7         120.     Plaintiffs incorporate the foregoing paragraphs as if set forth fully herein.
 8         121.     Plaintiffs bring this cause of action on behalf of themselves, the members of the
 9   Class and the general public.
10         122.     Intuit is a “person” as defined by Cal. Bus. & Prof. Code § 17201.
11         123.     Intuit has violated and continues to violate Cal. Bus. & Prof. Code § 17200, et
12   seq. (“UCL”), which prohibits unfair business practices.
13         124.     Intuit engaged in oppressive, unscrupulous, and substantially injurious conduct.
14   Plaintiffs and Class members are low-income individuals and active-military members who
15   were entitled to file their taxes for free but instead, by consequence of Intuit’s pervasive unfair
16   conduct, spent money to file their taxes. They could not have reasonably avoided this injury.
17   Nor is Intuit’s relevant conduct outweighed by any countervailing benefits to consumers or to
18   competition.
19         125.     Intuit’s unfair business acts and practices include, without limitation:
20                   a.    Devising a common plan, scheme and course of conduct designed to steer
21   low-income Americans and active-duty military service personnel who were eligible for free
22   tax filing into paying for Intuit’s TurboTax product.
23                  b.     Implementing software code that was designed to, and did, conceal or
24   impede Class members’ access to Intuit’s actual free product, TurboTax Freedom Edition.
25                   c.    Steering Class members to its commercial TurboTax website by paying
26   for Google AdWords associating that site with keywords likely to be used by consumers
27   searching for Intuit’s free tax-filing options, with the result that Class members clicked on links
28   advertising and sending them to Intuit’s commercial site.


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 1                  d.     Deliberately failing to notify taxpayers of the availability of TurboTax
 2   Freedom Edition even after Intuit received information indicating the taxpayers were eligible
 3   to file for free under the Free File Program.
 4                  e.     Causing confusion by naming the TurboTax commercial website
 5   “TurboTax Free Edition” and including a link to that website on the “TurboTax Freedom
 6   Edition” website.
 7                   f.    Preventing Class members from navigating directly via hyperlink from
 8   the TurboTax commercial website to the TurboTax Freedom Edition website.
 9                  g.     Requiring Class members to spend time and effort inputting tax-return
10   information on the TurboTax Free Edition commercial site before informing them at the end of
11   the process that paying a fee would be necessary to file their returns, even when the taxpayer
12   was eligible to file for free with Intuit under the Free File Program.
13                  h.     Representing to Class members, after they spent time and effort inputting
14   tax-return information on the TurboTax commercial site, that they needed to pay for upgrades
15   to “accurately” file their return when, in fact, they could and should have been directed to file
16   for free on the Freedom Edition site, which Intuit did not offer as an “upgrade” option.
17          126. As a direct and proximate result of Intuit’s unfair business practices, Plaintiffs
18   and Class members suffered injury in fact and lost money or property, including the amounts
19   they paid to Intuit or that were deducted from their tax refunds as part of the online filing
20   process.
21          127. Intuit continues to engage in the unfair conduct set forth above. This conduct is
22   thus likely to recur in the absence of a court order.
23          128. Accordingly, pursuant to Cal. Bus. & Prof. Code § 17203, which permits the
24   Court to make such orders or judgments as may be necessary to prevent the use of any practice
25   which constitutes unfair competition, or as may be necessary to restore money that may have
26   been acquired by means of such unfair competition, Plaintiffs seek the following relief on
27   behalf of themselves and the class: (i) a judicial finding that Intuit’s conduct as described
28   herein violates the UCL; (ii) an injunction prohibiting Intuit from engaging in unfair and


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 1   deceptive practices to promote its commercial online tax preparation software website while
 2   actively concealing the Free File Program, whether by using confusing tradenames such as
 3   Free Edition and Freedom Edition, misleading “free to fee” conversion practices, implementing
 4   software code or paid advertisements to divert taxpayers eligible to file for free to paid product
 5   offerings, or other unfair acts, practices or conduct; and (iii) an order or judgment requiring
 6   Intuit to restore all money it acquired from the Class by means of its unlawful conduct.
 7                                         COUNT II
             California Unfair Competition Law, Cal. Bus. & Prof. Code § 17200 et seq.
 8               Fraudulent Business Acts and Practices and Deceptive Advertising
 9                             (On Behalf of Plaintiffs and the Class)

10          129. Plaintiffs incorporate the foregoing paragraphs as if set forth fully herein.
11          130. Plaintiffs bring this cause of action on behalf of themselves, the members of the
12   Class and the general public.
13          131. Intuit is a “person” as defined by Cal. Bus. & Prof. Code § 17201.
14          132. Intuit violated Cal. Bus. & Prof. Code § 17200, et seq. (“UCL”) by engaging in
15   fraudulent business acts and practices and unfair, deceptive, and misleading advertising.
16          133. Intuit’s deceptive advertising and fraudulent conduct was likely to, and did,
17   deceive Plaintiffs and Class members acting reasonably under the circumstances.
18          134. Intuit’s deceptive advertising and fraudulent conduct included affirmative
19   misrepresentations, active concealment of material facts, and partial representations paired with
20   suppression of material facts. Intuit’s conduct violative of the fraudulent prong includes at
21   least the following acts and omissions:
22                  a.     In a pervasive nationwide advertising campaign, Intuit falsely advertised
23   its TurboTax commercial website as being free, causing confusion and deceiving Class
24   members, eligible for free tax filing, into paying Intuit for tax-filing services.
25                 b.      As part of the same campaign, Intuit marketed its tax-filing services as
26   being “FREE Guaranteed” when, far from honoring any such guarantee, Intuit charged a fee to
27   most consumers who attempted to file their taxes on its TurboTax commercial website while
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 1   also concealing and diverting consumers from its “Freedom Edition” site, on which Class
 2   members could have filed for free.
 3                 c.      Intuit obscured and failed to disclose the material differences between its
 4   commercial TurboTax “Free Edition” site and its actual free-filing site, “Freedom Edition,”
 5   knowing that consumers would confuse the two similarly named products and pay Intuit for
 6   tax-filing services that it could and should have provided for free.
 7                 d.      Intuit heavily marketed TurboTax “Free Edition” in a manner that made
 8   it highly likely to be confused by consumers with TurboTax’s “Freedom Edition,” including by
 9   launching an extensive advertising campaign for “Free Edition” and sending consumers
10   repeated emails marketing “Free Edition” while failing to mention or distinguish it from
11   “Freedom Edition.”
12                 e.      Intuit inserted code within its Freedom Edition website that prevented
13   that site from appearing in online search results, rendering the site undiscoverable by Class
14   members searching for free tax-filing options on Google or other search engines.
15                  f.     Intuit did not inform Class members, whom it knew were eligible for free
16   filing, that they would need to pay to file their returns until shortly before filing—after they
17   had spent time and effort inputting their personal and financial information on the TurboTax
18   commercial site.
19                 g.      Intuit misrepresented to Class members, who were eligible for free filing,
20   that a particular paid product of Intuit was the best product for them.
21                 h.      Intuit misrepresented to consumers that the only TurboTax online
22   products were TurboTax “Free Edition,” “Deluxe,” “Premiere,” and “Self-Employed” when, in
23   fact, “Freedom Edition” (i.e., the truly free product) constituted a fifth TurboTax product.
24         135.    Further, in relation to active military personnel, Intuit engaged in additional
25   unfair, deceptive, and misleading advertising and fraudulent business acts and practices. Those
26   acts and practices include maintaining a dedicated webpage for service members that only
27   references TurboTax’s commercial filing options.
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 1         136.    As a direct and proximate result of Intuit’s deceptive acts, practices, and
 2   advertising, Plaintiffs and Class members suffered injury in fact and lost money or property,
 3   including the amounts they paid to Intuit or that were deducted from their tax refunds as part of
 4   the online filing process.
 5         137.    Before purchasing TurboTax e-filing services, each Plaintiff saw representations
 6   by Intuit that its tax preparation services were “free.” The representations did not distinguish
 7   between Intuit’s Freedom Edition, which is actually free, and its Free Edition, which is free in
 8   only limited circumstances and intended by Intuit to generate revenue. Plaintiffs were exposed
 9   to these representations via television commercials, online product descriptions, internet and
10   print advertisements, and/or emails from Intuit. Had Intuit accurately described the nature of
11   its Free Edition tax-filing product and made clear its intent to assess a fee, no Plaintiff would
12   have used TurboTax’s commercial website. Instead, each would have filed a tax return through
13   a different means.
14         138.    Given its relative ease of use, Plaintiffs would like to continue self-filing their
15   tax returns using the TurboTax platform. But because of Intuit’s conduct, Plaintiffs cannot be
16   assured that Intuit’s representations about the cost of its tax-preparation and filing services are
17   accurate. As a result, although each Plaintiff would like to use the TurboTax platform for
18   future tax filing, none of them will do so unless Intuit takes sufficient steps to ensure the
19   accuracy of its representations about the cost of its services.
20         139.    Accordingly, pursuant to Cal. Bus. & Prof. Code § 17203, which permits the
21   Court to make such orders or judgments as may be necessary to prevent the use of any practice
22   which constitutes unfair competition, or as may be necessary to restore money that may have
23   been acquired by means of such unfair competition, Plaintiffs seek the following relief on
24   behalf of themselves and the class: (i) a judicial finding that Intuit’s conduct as described
25   herein violates the UCL; (ii) an injunction prohibiting Intuit from engaging in unfair and
26   deceptive practices to promote its commercial online tax preparation software website while
27   actively concealing the Free File Program, whether by using confusing tradenames such as
28   Free Edition and Freedom Edition, misleading “free to fee” conversion practices, implementing


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 1   software code or paid advertisements to divert taxpayers eligible to file for free to paid product
 2   offerings, or other unfair acts, practices or conduct; and (iii) an order or judgment requiring
 3   Intuit to restore all money it acquired from the Class by means of its unlawful conduct.
 4                                          COUNT III
              California Unfair Competition Law, Cal. Bus. & Prof. Code § 17200 et seq.
 5                              Unlawful Business Acts and Practices
 6                              (On Behalf of Plaintiffs and the Class)

 7           140.   Plaintiffs incorporate the foregoing paragraphs as if set forth fully herein.
 8           141.   Plaintiffs bring this cause of action on behalf of themselves, the members of the
 9   Class and the general public.
10           142.   Intuit violated Cal. Bus. & Prof. Code § 17200, et seq. (“UCL”) by engaging in
11   unlawful business acts and practices.
12           143.   Intuit’s business practices in question are unlawful and in violation of the UCL,
13   because they violate California’s Consumers Legal Remedies Act, Cal. Civ. Code § 1780 et
14   seq. (“CLRA”).
15                  a.     Intuit is a “person” as defined by Civil Code §§ 1761(c) and 1770, and
16   provided “services” as defined by Civil Code §§ 1761(b) and 1770.
17                  b.     Plaintiffs and class members are “consumers,” as defined by Civil Code
18   §§ 1761(d) and 1770, and engaged in a “transaction,” as defined by Civil Code §§ 1761(e) and
19   1770.
20                  c.     Intuit’s acts and practices, as described herein, were intended to and did
21   result in the sale of products and services to Plaintiffs and Class members in violation of the
22   CLRA. Intuit violated Civil Code § 1770(a)(5) by representing that goods or services had
23   characteristics that they did not have. Intuit also violated Civil Code § 1770(a)(7) by
24   representing that goods or services were of a particular standard, quality, or grade when they
25   were not. And Intuit violated Civil Code § 1770(a)(9) by advertising goods or services with
26   intent not to sell them as advertised.
27                  d.     A reasonable consumer would attach importance to Intuit’s
28   misrepresentations and omissions alleged herein and would be induced to act on the


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 1   information in making purchase decisions. Intuit’s misrepresentations and omissions were
 2   likely to and did deceive reasonable consumers who were eligible for Free File into using and
 3   paying for Intuit’s paid products.
 4                 e.       As a direct and proximate result of Intuit’s CLRA violations, Plaintiffs
 5   and Class members have suffered injury and ascertainable losses of money or property through
 6   payment for Intuit’s products and services that it could and should have provided for free.
 7         144.    Intuit’s business practices in question are also unlawful, in violation of the UCL,
 8   because they violate the Federal Trade Commission Act, 15 U.S.C. § 45, which prohibits
 9   “unfair or deceptive acts or practices in or affecting commerce.” As described above, Intuit
10   engaged in unfair and deceptive acts and practices affecting commerce that caused substantial
11   injury to consumers.
12         145.    As a direct and proximate result of Intuit’s unlawful acts and practices, Plaintiffs
13   and Class members suffered injury in fact and lost money or property, including the amounts
14   they paid to Intuit or that were deducted from their tax refunds as part of the online filing
15   process.
16         146.    Accordingly, pursuant to Cal. Bus. & Prof. Code § 17203, which permits the
17   Court to make such orders or judgments as may be necessary to prevent the use of any practice
18   which constitutes unfair competition, or as may be necessary to restore money that may have
19   been acquired by means of such unfair competition, Plaintiffs seek the following relief on
20   behalf of themselves and the class: (i) a judicial finding that Intuit’s conduct as described
21   herein violates the UCL; (ii) an injunction prohibiting Intuit from engaging in unfair and
22   deceptive practices to promote its commercial online tax preparation software website while
23   actively concealing the Free File Program, whether by using confusing tradenames such as
24   Free Edition and Freedom Edition, misleading “free to fee” conversion practices, implementing
25   software code or paid advertisements to divert taxpayers eligible to file for free to paid product
26   offerings, or other unfair acts, practices or conduct; and (iii) an order or judgment requiring
27   Intuit to restore all money it acquired from the Class by means of its unlawful conduct.
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 1                                             COUNT IV
                                          Unjust Enrichment
 2                                 (On Behalf of Plaintiffs and the Class)
 3            147.   Plaintiffs incorporate the foregoing paragraphs as if set forth fully herein.
 4            148.   Plaintiffs bring this cause of action on behalf of themselves and members of the
 5   Class.
 6            149.   Plaintiffs and Class members conferred a benefit on Intuit by paying Intuit for
 7   online tax-preparation and filing services.
 8            150.   Intuit acted wrongfully by (a) acting in a coordinated manner to suppress free
 9   filing; (b) actively concealing its free online tax-preparation and filing services from the people
10   for whom those services were intended; and (c) marketing its services in a deceptive and
11   misleading manner. Among other deception and wrongdoing, Intuit manipulated internet
12   search results to steer Plaintiffs and Class members to its paid website, blocked their ability to
13   navigate to Intuit’s actual free-filing site once they clicked on Intuit’s paid website, falsely
14   marketed its paid services as being free, and purposely did not inform low-income individuals
15   and active military personnel of their eligibility to file their tax returns at no cost.
16            151.   Intuit’s scheme to divert free-file eligible consumers and active military
17   personnel to its paid website, and to induce their payments for services that Intuit could and
18   should have provided at no cost, has caused Intuit to profit.
19            152.   Based on the foregoing, retention by Intuit of its ill-gotten gain is unjust and
20   inequitable.
21            153.   Plaintiffs, on behalf of themselves and the Class, seek restitution, restitutionary
22   disgorgement, and all other appropriate relief permitted by the law of unjust enrichment,
23   including reasonable attorneys’ fees and costs of suit.
24                                        PRAYER FOR RELIEF
25            WHEREFORE, Plaintiffs, on behalf of themselves and the proposed Class, respectfully
26   pray for judgment as follows:
27                   A.     For an order certifying this action as a class action pursuant to Federal
28   Rule of Civil Procedure 23(b)(2) and (b)(3);


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 1                     B.   For an order appointing Plaintiffs as Class Representatives and Interim
 2   Class Cousel as Class Counsel pursuant to Federal Rule of Civil Procedure 23(g);
 3                     C.   For an order declaring that Intuit’s conduct as alleged herein constitutes
 4   unfair competition;
 5                     D.   For an order declaring that Intuit has unlawfully profited from its unjust
 6   and inequitable conduct as alleged herein;
 7                     E.   For an order enjoining Intuit from engaging in all manner of unfair,
 8   unlawful, deceptive, misleading or otherwise wrongful acts, omissions or practices, in
 9   connection with its participation in the Free File Program, that threaten future injury to the
10   Class and/or the general public, including, without limitation, promoting its commercial tax
11   preparation website to taxpayers eligible to file for free while concealing its actual free file
12   website and the Free File Program, whether by implementing software code or advertising to
13   divert such taxpayers to its paid offerings, using confusing tradenames such as Free Edition
14   and Freedom Edition, or engaging in any other unlawful “free to fee” conversion practices, or
15   through engaging in any other wrongful acts, omissions or practices.
16                     F.   For an order requiring restitution of all monies paid to Intuit by any
17   person who qualified for free tax-return filings pursuant to the Free File Program and who paid
18   money to Intuit to file a return, regardless of which TurboTax program or software the person
19   used in filing;
20                     G.   For an order awarding Plaintiffs and Class members pre-judgment and
21   post-judgment interest;
22                     H.   For an order awarding Plaintiffs and Class members reasonable attorneys’
23   fees, costs, and expenses; and
24                     I.   For such other relief as the Court may deem just and proper, including
25   any order or judgment as may be necessary to prevent the use of any practice alleged herein
26   found to consittute ufnair competition or unjust or inequitable conduct, or as may be necessary
27   to resotre money that may have been acquired by means of unfair compeition or unjust and
28   inequitable conduct.


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 1                                    DEMAND FOR JURY TRIAL
 2         Plaintiffs assert only claims for equitable and injunctive relief at this time. Plaintiffs
 3   respectfully demand a trial by jury only as to any claim deemed so triable by the Court for any
 4   reason.
 5   Dated: September 13, 2019                      Respectfully submitted,
 6                                                  /s/ Daniel C. Girard
 7
                                                    Daniel C. Girard (State Bar No. 114826)
 8                                                  Angelica M. Ornelas (State Bar No. 285929)
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22                                                  Co-Lead Interim Counsel

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 1                                  CERTIFICATE OF SERVICE
 2          I hereby certify that on September 13, 2019, I electronically filed the foregoing with the
 3   Clerk of the Court using the CM/ECF system, which will send notice of such filing to all
 4   registered users.
 5                                            /s/ Daniel C. Girard
 6                                            Daniel C. Girard
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